     Case 8:20-cv-00872-JVS-JDE Document 22 Filed 11/16/20 Page 1 of 1 Page ID #:75



 1
 2
 3
 4
 5
 6
 7
                          UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10                                          )
     Ace American Insurance Co, et al,      )         SACV 20-00872JVS(JDEx)
11                                          )
                                            )         ORDER OF DISMISSAL UPON
12                Plaintiff,                )
                                            )         SETTLEMENT OF CASE
13         v.                               )
                                            )
14   Associated Pacific Constructors,       )
     Inc,                                   )
15                                          )
               Defendant(s).                )
16   ____________________________
17
           The Court having been advised by the counsel for the parties that the above-
18
     entitled action has been settled,
19
            IT IS ORDERED that this action be and is hereby dismissed in its entirety
20
     without prejudice to the right, upon good cause being shown within 60 days, to reopen
21
     the action if settlement is not consummated.
22
23
     DATED: 11/16/20                                      ___________________________
24
                                                       James V. Selna
25                                                  United States District Judge
26
27
28
